           Case
            Case2:16-cv-00106-NBF
                 2:16-cv-00106-NBF Document
                                   Document 34 Filed
                                               Filed02/12/16
                                                     02/12/16 Page
                                                               Page11
                                                                    of of
                                                                       1 1




                              UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF PENNSYLVANIA


  DOUG ORANGE,

            Plaintiff,                             Case No.2: 16-cv-00106-NBF

  v.

  SCHENLEY GARDENS,
                                                   JURY TRIAL DEMANDED
            Defendant.




                         STIPULATION FOR DISMISSAL WITH PREJUDICE

             Pursuant to Rule 41(a)(l) of the Federal Rules of Civil Procedure, Plaintiff hereby

  stipulates to the dismissal of this matter, with prejudice, so that the parties may

  participate in Defendant's mandatory arbitration program, to which Plaintiff agreed as a

  condition of employment with Defendant.

   Dated: February 12, 2016

   Respectfully submitted,

   s/ Christi Wall ace
   Christi Wallace
   cw(q;Jawkm.com
   KRAEMER MANES & ASSOCIATES LLC
   US Steel Tower
   600 Grant Street, Suite 660
   Pittsburgh, PA 15219
   Phone: (412) 722-9700
   Facsimile: (412) 206-0834

   SO ORDERED:
       l




_,,//h-14 ~~
   Honor
